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  1   Robert P. Goe – State Bar No. 137019
      Charity J. Miller – State Bar No. 286481
  2   GOE & FORSYTHE, LLP
      18101 Von Karman Avenue, Suite 510
  3   Irvine, CA 92612
      Telephone: (949) 798-2460
  4   rgoe@goeforlaw.com
      cmiller@ goeforlaw.com
  5
      Attorneys for Defendant, Kent W. Easter
  6

  7

  8
                                UNITED STATES BANKRUPTCY COURT
  9
                                CENTRAL DISTRICT OF CALIFORNIA
 10
                                          SANTA ANA DIVISION
 11
      In re                                        Case No.: 8:16-bk-10223-ES
 12
      KENT W. EASTER,                              Chapter 7 Proceeding
 13
                           Debtor                  Adv. Case No. 8:16-ap-01114-ES
 14

 15                                                DEFENDANT’S REQUEST FOR
                                                   JUDICIAL NOTICE IN OPPOSITION TO
 16                                                MOTION FOR SUMMARY JUDGMENT
      KELLI C. PETERS, BILL PETERS, and
      SYDNIE PETERS,
 17
                                                   Hearing:
                            Plaintiffs,            Date:        November 10, 2016
 18
                                                   Time:        10:30 a.m.
                           v.                      Ctrm:        5A
 19
      KENT W. EASTER,
 20
                          Defendant.
 21

 22

 23

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         DEFENDANT’S REQUEST FOR JUDICIAL NOTICE IN OPPOSITION TO MOTION FOR SUMMARY
                                          JUDGMENT
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  1           TO THE HONORABLE ERITHE A. SMITH, UNITED STATES BANKRUPTCY
  2   JUDGE, THE PLAINTIFFS, AND THEIR COUNSEL OF RECORD:
  3
              Pursuant to Rule 201 of the Federal Rules of Evidence, Defendant Kent W. Easter hereby
  4
      requests that the Court take judicial notice of the contents of the following documents, the
  5
      originals of which are contained in the files of the Superior Court of the State of California for
  6

  7   the County of Orange, Case Numbers 12ZF0153 and 30-2012-00588580-CU-POI-CJC and

  8   Court of Appeal for the Fourth District of California, Division Three, Case No. G054029, and

  9   true and correct copies of which are attached hereto:
 10

 11
      Exhibit No.                                           Title of Document
 12
      1.                      Defendant Kent W. Easter’s Notice of Appeal, filed on August 12, 2016
 13

 14   2.                      Docket (Register of Actions) for Case No. G054029, Court of Appeal for

 15                           the Fourth District of California, Division Three, dated October 20, 2016

 16   3.                      Excerpts of Jury Instructions given in Case No. 12ZF0153
 17
      4.                      Excerpts of Jury Instructions proposed by Defendant Kent W. Easter and
 18
                              refused in Case No. 12ZF0153
 19

 20

 21   Dated: October 20, 2016                       Respectfully submitted,

 22                                                 GOE & FORSYTHE, LLP

 23                                                 /s/ Robert P. Goe
                                                    Robert P. Goe, Attorneys for Kent Easter
 24

 25

 26

 27

 28                                                   -1-

           DEFENDANT’S REQUEST FOR JUDICIAL NOTICE IN OPPOSITION TO MOTION FOR SUMMARY
                                            JUDGMENT
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                   EXHIBIT 1




                   EXHIBIT 1
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                   EXHIBIT 2




                   EXHIBIT 2
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                   EXHIBIT 3




                   EXHIBIT 3
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                   EXHIBIT 4




                   EXHIBIT 4
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  1
                               PROOF OF SERVICE OF DOCUMENT
  2
      I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
  3   address is: 18101 Von Karman Avenue, Suite 1200, Irvine, CA 92612

  4   A true and correct copy of the foregoing document entitled (specify): DEFENDANT’S REQUEST FOR
      JUDICIAL NOTICE IN OPPOSITION TO MOTION FOR SUMMARY JUDGMENT will be served or was
  5   served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the
      manner stated below:
  6
      1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
      controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
  7   hyperlink to the document. On (date) October 20, 2016, I checked the CM/ECF docket for this bankruptcy
      case or adversary proceeding and determined that the following persons are on the Electronic Mail Notice
  8   List to receive NEF transmission at the email addresses stated below:
  9          Weneta M Kosmala (TR) ecf.alert+Kosmala@titlexi.com,
              wkosmala@txitrustee.com;dmf@txitrustee.com;kgeorge@kosmalalaw.com
 10          Robert H Marcereau , nlipowski@mncalaw.com
             United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov
 11
                                                        Service information continued on attached page
 12
      2. SERVED BY UNITED STATES MAIL: On (date) October 20, 2016, I served the following persons
 13   and/or entities at the last known addresses in this bankruptcy case or adversary proceeding by placing a
      true and correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid,
 14   and addressed as follows: Listing the judge here constitutes a declaration that mailing to the judge will be
      completed no later than 24 hours after the document is filed.
 15
      Kent W Easter
 16   153 Baywood Dr
      Newport Beach, CA 92660
 17
                                                        Service information continued on attached page
 18
      3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR
 19   EMAIL: (state the method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling
      LBR, on (date) October 20, 2016, I served the following persons and/or entities by personal delivery,
 20   overnight mail service, or (for those who consented in writing to such service method), by facsimile
      transmission and/or email as follows: Listing the judge here constitutes a declaration that personal
      delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
 21   filed.
 22          The Honorable Erithe A. Smith, USBC, 411 West Fourth Street, Santa Ana, CA 92701
 23                                                     Service information continued on attached page
 24   I declare under penalty of perjury under the laws of the United States that the foregoing is true and
      correct.
 25
       October 20, 2016           Susan C. Stein                            /s/Susan C. Stein
 26    Date                     Printed Name                                Signature

 27

 28
                                                        -- 2 --
